Case 1-13-41048-0@0

BeB (officrar Form sB) (12/07)

in re 107 4th Ave LLC

 

Debtor

Case No.

DOC 11 Filed 03/12/13 Entei’ed 03/12/13 13236:36

 

SCHEDULE B - PERSONAL PROPERTY

(|f known)

 

TYPE OF PROPERTY

NONE

DESCR|PT|ON AND LOCAT|ON
OF PROPERTY

HUSBAND, W|FE, JO|NT

OR COMMUNI`[Y

CURRENT VALUE OF
DEBTOR'S |NTEREST
iN PROPERTY, W|TH-
OUT DEDUCT|NG ANY
SECURED CLA|N|
OR EXEMPT|ON

 

_ Cash on hand

 

, Checking, savings or other hnancia|

accounts, certificates of deposit, or
shares in banks, savings and loan, thrift.
building and ioan, and homestead
associations, or credit unions, brokerage
houses, or cooperatives

Checking

97.22

 

, Security deposits with public utilities,

telephone companies, iandiords, and
others.

 

_ Househoid goods and furnishings,

including audio. video, and computer
equipment.

 

_ Books. pictures and other art objects,

antiquesl stamp. coin, record, tape,
compact disc, and other collections or
coilectib|es.

 

Wearing appare|.

 

_ Furs and jewelry.

 

.°°

Firearms and sports, photographic, and
other hobby equipment.

 

LO

l interests in insurance policies Name

insurance company of each policy and
itemize surrender or refund value of
each.

><><><><

 

10.

Annuities. itemize and name each
issuer.

><

 

11.

interests in an education iRA as defined
in 26 U,S.C. § 530(b)(1) or under a
quaiihed State tuition plan as defined in
26 U.S.C. § 529(b)(1). Give particulars.
(File separately the record(s) of any such
interest(s). 11 U.S.C. § 521(0).)

 

12.

interests in lRA, ER|SA, Keogh, or other
pension or profit sharing plans. Give
particulars

 

13.

Stock and interests in incorporated and

 

unincorporated busir itemize.

 

14.

interests in partnerships or joint ventures

itemize.

 

15.

Government and corporate bonds and
other negotiable and nonnegotiable
instruments

 

16.

Accounts receivable

Accounts Receivab|e

6,190.00

 

17.

A|imony, maintenance, support. and
property settlements to which the debtor
is or may be entitled. Give particulars

 

 

18.

Other liquidated debts owed to debtor
including tax refunds. Give particulars

 

 

 

 

 

 

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BGB (Officia| Form 6B) (12/07) -- Cont.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

|n re 107 4th Ave LLC Case No.
Debtor (|f known)
(Continuation Sheet)
,_
§ CURRENT VALUE OF
9, § oEBToR's iNTEREsT
m 5 § iN PROPERTY, WiTH~
z DESCR|PTiON AND LOCATiON § § OUT DEDUCT|NG ANY
TYPE OF PROPERTY § oF PROPERTY d § sEcuREo cLAiivi
§ § OR EXE|V|PT|ON
3 o
3
I
19_ Equitabie or future interests, life estates X
and rights or powers exercisable for the
benefit of the debtor other than those
listed in Schedule A - Reai Property.
20. Contingent and noncontingent interests )(
in estate of a decedent, death benth
planl life insurance poiicy, or trust.
21_ Other contingent and unliquidated claims )(
of every nature, including tax refunds
counterclaims of the debtor, and rights to
setoff claims. Give estimated value of
each.
22_ Patents, copyrights and other intellectual )(
property Give particulars
23. Licenses, franchises and othergenerai X
intangibles Give particulars
24. Customer lists or other compilations )(
containing personally identifiable
information (as defined in 11 U.S.C. §
101 (41A)) provided to the debtor by
individuals in connection with obtaining a
product or service from the debtor primarily
for personai, familyl or household
purposes
25_ Automobi|es, trucks, trailers and other )(
vehicles and accessories.
26_ Boats, motorsI and accessories X
27, Aircraft and accessories. X
28_ Office equipment, furnishings, and X
supplies
29, Machinery, fixturesl equipment and )(
supplies used in business
30_ inventory. X
31_ Anima|s. X
32, Crops - growing or harvested. Give )(
particulars
33_ Farming equipment and implements X
34_ Farm supplies chemicals and feed. X
35_ Other personal property of any kind not )(
already |isted. |temize.
1 continuation sheets attached Totai " $ 6,287_22

 

 

 

(|noiude amounts from any continuation sheets
attached. Report total also on Summary of
Schedules.)

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B6E (Officia| Form 6E) (4/10)

in re 107 4th Ave LLC . Case No_

 

 

Debtor (|f known)
SCHEDULE E - CRED|TORS HOLD|NG UNSECURED PR|OR|TY CLA|MS

M Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PR|OR|TY CLA|MS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)
E| Domestic Support Obiigations

Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).
C] Extensions of credit in an involuntary case

Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

C\ Wages, salaries and commissions
Wages, salaries and commissions including vacation, severanoe, and sick leave pay owing to employees and commissions owing to qualifying

independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business Whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

Cl Contributions to employee benefit plans

i\/loney owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

L_.l Certain farmers and fishermen
Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

El Deposits by individuals

Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personai, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).

[] Taxes and Certain Other Debts Owed to Governmentai Units

Taxes, customs duties and penalties owing to federall state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

[| Commitments to Maintain the Capitai of an insured Depository institution

Claims based on commitments to the FDiC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currencyl or Board of
Governors of the Federal Reserve System, or their predecessors or successors to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).

EI Claims for Death or Personai injury Whiie Debtor Was intoxicated

Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
drug, or another substancel 11 U.S.C. § 507(a)(10).

*Amounts are subject to adjustment on 4/01/13l and every three years thereafter with respect to cases commenced on or after the date of
adjustment

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2 continuation sheets attached

Case 1-13-41048-0@0

BSE (Official Form 6E) (4/10) - Cont.

in re 1 07 4th Ave LLC

 

Debtor

Case No.

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(lf known)

SCHEDULE E - CRED|TORS HOLD|NG UNSECURED PR|OR|TY CLA|MS

(Contlnuation Sheet)

 

 

 

,_
cREoiToR's NAME, §§ DATE cLAiM wAs ,_ 0 AiviouNT AiviouNT AiviouNT
iviAiLiNe ADDREss °O‘ §§ iNcuRRED AND 5 § g OF CLAiii/i ENTiTi_Ei:) To NOT

iNcLuDiNG ziP coDE, § § § coNsiDERATioN § § '5 PR|OR|TY ENTlTLED TO
AND AccouNT NuiviBER 3 §3 FoR cLAiM § g b PRioRiTYl iF
(See instructions above.) 0 § 5 8 § o ANY
§
ACCOUNT NO. $000

 

 

 

 

 

 

 

 

 

 

 

 

Sheet no. g of g continuation sheets attached to Schedule of

Creditors Hoiding Priority Claims

Subtotals>
(Totals of this page)

Tota| >
(Use only on last page of the completed
Schedule E. Report also on the Summary of
Schedules.)

Total >
(Use only on last page of the completed
Schedule E. if applicable, report also on the
Statistical Summary of Certain Liabilities and
Related Data. )

 

 

 

 

 

 

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BGG (Officiai Form GG) (12/07)

in re= 107 4th Ave LLC Case NO-
Debtor (if known)

SCHEDULE G - EXECUTORY CONTRACTS AND UNEXP|RED LEASES

M Check this box if debtor has no executory contracts or unexpired leases

 

DESCR|PT|ON OF CONTRACT OR LEASE AND NATURE OF

NAME AND MA|L|NG ADDRESS, |NCLUD|NG Z|P CODE, DEBTOR'S |NTEREST, STATE WHETHER LEASE lS FOR
OF OTHER PARTiES TO LEASE OR CONTRACT. NONRESiDENT|AL REAL FROPERTY. STATE CONTRACT

NUMBER OF ANY GOVERNMENT CONTRACT.

 

 

 

 

 

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BsH (officiai Form eH) (12/07)

|n re: 107 4th Ave LLC Case No_
Debtor

SCHEDULE H - CODEBTORS

§ Check this box if debtor has no codebtors.

(|f known)

 

 

NAME AND ADDRESS OF CODEBTOR NAME AND ADDRESS OF CRED|TOR

 

 

 

 

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86 Summary (Officia| Form 6 - Summary) (12/07)
United States Bankruptcy Court
Eastern District of New York

 

 

 

ln re 107 4th AVe LLC Case No_
Debtor
Chapter 11
SUMMARY OF SCHEDULES

indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, l,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets Add the amounts of ali claims
from Schedules D, E, and F to determine the total amount of the debtor's liabilities individual debtors also must complete the “Statistical Summary of
Certain Liabilities and Reiated Data” if they file a case under chapter 7, 11, or 13.

 

 

 

 

 

 

NAME OF SCHEDULE ATTACHED NO. OF SHEETS ASSETS LiABlLiTlES
(YES/NO)
A - Reai Property YES 1
B - Personal Property YES 2
C - Property Claimed
as Exempt NO
D - Creditors Hoiding YES 1

Secured Claims

 

E - Creditors Hoiding Unsecured
Priority Claims YES 3
(Totai of Claims on Schedule E)

 

 

 

 

 

F - Creditors Hoiding Unsecured YES 1 190‘000_00
Nonpriority Claims ' `

G ~Executory Contracts and YES 1
Unexpired Leases

H - Codebtors YES 1

l- Current income of
individual Debtor(s) NO 0

J - Current Expenditures of NO 0

individual Debtor(s)

 

 

 

TOTAL 10 606,287.22 4,087,140.29

 

 

 

 

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Form 6 - Statisticai Summary (12/07)

United States Bankruptcy Court
Eastern District of New York

in re 107 4th Ave LLC Case No.

 

 

Debtor 7 Chapter 11

 

STAT|ST|CAL SUMMARY OF CERTA|N L|AB|L|T|ES AND RELATED DATA (28 U.S.C. § 159)

if you are an individual debtor whose debts are primarily consumer debts as defined in § 101(8) of the Bankruptcy Code (11 U,S`C,
§ 101(8)), filing a case under chapter 7, 11 or13, you must report all information requested below.

|;| Check this box if you are an individual debtor whose debts are NOT primarily consumer debts You are not required to report any
information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities as reported in the Scheduies, and total them.

 

 

 

 

 

 

 

 

Type of Liability Amount

Domestic Support Obligations (from Schedule E) $ ()_(}()

Taxes and Certain Other Debts Owed to Governmentai Units (from

Schedule E) $ 0 00

Claims for Death or Personal injury Whiie Debtor Was

intoxicated (from Schedule E) (whether disputed or undisputed) $ 0 00

Student Loan Obligations (from Schedule F) $ 0,()()

Domestic Supportl Separation Agreement, and Divorce Decree

Obligations Not Reported on Schedule E. $ 0 00

Obligations to Pension or Profit-Sharing, and Other Simi|ar

Obligations (from Schedule F) $ 0 00
TOTAL $ 0,()()

 

 

State the foilowing:

 

Average income (from Schedule l, Line 16) $ 0,00

 

Average Expenses (from Schedule J, Line 18) $ (),0()

 

Current l\/ionth|y income (from Form 22A Line 12; OR, Form
22B Line 11; OR, Form 220 Line 20 ) $ 0 00

 

 

 

 

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United States Bankruptcy Court
Eastern District of New York

|n re 107 4th Ave LLC Case No,

 

Debtor Chapter 11

State the foilowing:

 

1. Totai from Schedule D, “UNSECURED PORT|ON, lF ANY”
column

2. Totai from Schedule E, “Al\/lOUNT ENTlTLED TO PR|OR|TY”
column.

3. Totai from Schedule E, “A|V|OUNT NOT ENTlTLED TO
PR|OR|TY, |F ANY” CO|umn

4. Totai from schedule F / x ` 190,000.00

 

 

 

5. Totai of non-priority unsecured debt (sum of 1, 3, and 4) ` i 2,413,964_22

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37 (Officiai Form 7) (4/10)

in rec

None

None

None

107 4th Ave LLC Case No.

UNiTED STATES BANKRUPTCY COURT
Eastern District of New York

 

 

Debtor (lf known)

STATEMENT OF F|NANC|AL AFFA|RS

 

1. income from employment or operation of business

State the gross amount of income the debtor has received from empioyment, trade, or profession, or from operation of the
debtor's business, including part-time activities either as an employee or in independent trade or business, from the beginning
of this calendar year to the date this case was commenced State also the gross amounts received during the two years
immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a
fiscal rather than a calendar year may report fiscal year income. identify the beginning and ending dates of the debtor's fiscal
year.) if a joint petition is filed, state income for each spouse separateiy. (i\/|arried debtors filing under chapter 12 or chapter 13
must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition
is not filed.)

A|VlOUNT SOURCE F|SCAL YEAR PERiOD

57,550.75 Rentai income 2012
January - December 2012

0.00 Rentai income 2013
January 2013 - March 2013

 

2. income other than from employment or operation of business

State the amount of income received by the debtor other than from empioyment, tradel profession, operation of the debtor's
business during the two years immediately preceding the commencement of this case. Give particulars. if a joint petition is
H|edl state income for each spouse separateiy. (i\iiarried debtors ming under chapter 12 or chapter 13 must state income for
each spouse whether or not a joint petition is fi|ed, unless the spouses are separated and a joint petition is not filed.)

Ai\i|OUNT SOURCE F|SCAL YEAR PER|OD

 

3. Payments to creditors

Complete a. or b., as appropriate, and c.

a. individual or joint debtor(s) with primarily consumer debts.' List all payments on loans, installment purchases of goods or
services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless
the aggregate value of all property that constitutes or is affected by such transfer is less than $600. indicate with an asterisk
(*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (i\/iarried debtors filing
under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filedl unless
the spouses are separated and a joint petition is not filed.)

DATES OF AMOUNT AN|OUNT
NAME AND ADDRESS OF
CRED|TOR l PAYMENTS PAID ST||_[_ OW|NG

None

Ei

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2

 

b. Debtor whose debts are not primarily consumer debts.' List each payment or other transfer to any creditor made within 90
days immediately preceding the commencement of the case unless the aggregate value of a|| property that constitutes or is
affected by such transfer is less than $5,850*. if the debtor is an individuall indicate with an asterisk (*) any payments that
were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a
plan by an approved nonprofit budgeting and credit counseling agency. (i\iiarried debtors filing under chapter 12 or chapter 13
must include payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the
spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CRED|TOR DATES Oi= AiviouNT AMOUNT
PAYl\/iENTS/ \P/K:R}§%F ST|LL
TRANSFERS
TRANsFERs OW'NG

 

*Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date

 

 

 

 

of adjustment
None c. Aii debtors: List all payments made within one year immediately preceding the commencement of this case to or for the
al benefit of creditors who are or were insiders (i\iiarried debtors filing under chapter 12 or chapter 13 must include payments by
either or both spouses whether or not a joint petition is filedl unless the spouses are separated and a joint petition is
not filed.)
NAiV|E AND ADDRESS OF CRED|TOR DATE OF AMOUNT AMQUNT
AND RELAT|ONSH|P TO DEBTOR PAYi\/iENT PA|D ST|LL OW|NG
4. Suits and administrative proceedings, executions, garnishments and attachments
None a. List ali suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the
g filing of this bankruptcy case. (i\/larried debtors filing under chapter 12 or chapter 13 must include information concerning
either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
not filed.)
CAPT|ON OF SU|T COURT OR AGENCY STATUS OR
AND cAsE NUMBER NATURE oF PRocEEDiNc AND LOCAT|ON DisPosiTioN
TiSSa V. 107 4th Avenue Supreme Court of State
23979/11 NY - Kings
None b. Describe ali property that has been attached, garnished or seized under any legal or equitable process within one year
Lv_[ immediately preceding the commencement of this case. (i\iiarried debtors filing under chapter 12 or chapter 13 must include
information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are
separated and a joint petition is not filed.)
NAi\/|E AND ADDRESS DESCRlPT|ON
OF PERSON FOR WHOSE DATE OF AND VALUE OF
BENEF|T PROPERTY WAS SE|ZED SE|ZURE PROPERTY
5. Repossessions, foreclosures and returns
None List ali property that has been repossessed by a creditor, sold at a foreclosure saie, transferred through a deed in lieu of
g foreclosure or returned to the seiler, within one year immediately preceding the commencement of this case. (i\iiarried

debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses whether
or not a joint petition is h|ed, unless the spouses are separated and a joint petition is not filed.)
DATE OF REPOSSESS|ON, DESCR|PT|ON
NAME AND ADDRESS FORECLOSURE SALE, AND VALUE OF
OF CRED|TOR OR SELLER TRANSFER OR RETURN PROPERTY

None

None

None

None

None

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6. Assignments and receiverships

a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
commencement of this case. (i\iiarried debtors hling under chapter 12 or chapter 13 must include any assignment by either or
both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not

H|ed.)

TERl\/lS OF
NAME AND ADDRESS DATE OF ASS|GNMENT
OF ASS|GNEE ASSlGNl\/lENT OR SETTLEMENT

 

b. List all property which has been in the hands of a custodian, receiver, or court-appointed official Within one year
immediately preceding the commencement of this case. (i\iiarried debtors filing under chapter 12 or chapter 13 must
include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
spouses are separated and a joint petition is not hied.)

NAME AND ADDRESS DESCR|PT|ON
NAME AND ADDRESS OF COURT DATE OF AND VALUE OF
OF CUSTOD|AN CASE TlTl_E & NUMBER ORDER PROPERTY

 

7. Gifts

List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except
ordinary and usual gifts to family members aggregating less than $200 in value per individual family member and charitable
contributions aggregating less than $100 per recipient (i\iiarried debtors filing under chapter 12 or chapter 13 must include
gifts or contributions by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
joint petition is not filed.)

 

NAME AND ADDRESS RELATiONSHlP DESCRiPTiON
OF PERSON TO DEBTOR, DATE AND VALUE OF
OR ORGAN|ZATION iF ANY OF GiFT GlFT

8. Losses

List all losses from hre, theft, other casualty or gambling within one year immediately preceding the commencement

of this case or since the commencement of this case. (i\iiarried debtors filing under chapter 12 or chapter 13 must
include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
joint petition is not filed.)

DESCR|PT|ON DESCR|PT|ON OF ClRCUl\/lSTANCES AND, lF
AND VALUE OF LOSS WAS COVERED lN WHOLE OR lN PART DATE OF
PROPERTY BY lNSURANCE, GlVE PART|CULARS LOSS

 

9. Payments related to debt counseling or bankruptcy

List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within
one year immediately preceding the commencement of this case.

NAME AND ADDRESS DATE OF PAYi\/iENT, Al\/iOUNT OF i\/lONEY OR

OF PAYEE NAME OF PAYOR lF DESCRlPTlON AND VALUE
OTHER THAN DEBTOR OF PROPERTY

Rosenberg, Musso & Weiner 5,000.00 plus filing fee

26 Court St., suite 2211
Brook|yn, New York 11242

None

None

None

None

None

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10. Other transfers

a. List ali other property, other than property transferred in the ordinary course of the business or financial affairs of the
debtor, transferred either absolutely or as security within two years immediately preceding the commencement of this case.
(i\iiarried debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint
petition is hied, unless the spouses are separated and a joint petition is not filed.)

DESCR|BE PROPERTY

NAME AND ADDRESS OF TRANSFEREE, TRANSFERRED
RELAT|ONSH|P TO DEBTOR DATE AND VALUE RECE|VED

 

b. List ali property transferred by the debtor within ten years immediately preceding the commencement of this case to a
self-settled trust or similar device of which the debtor is a beneficiary

NAi\/iE OF TRUST OR OTHER DATE(S) OF AMOUNT OF i\/|ONEY OR DESCR|PTiON
DEViCE TRANSFER(S) AND VALUE OF PROPERTY OR DEBTOR'
lNTEREST lN PROPERTY

 

11. Ciosed financial accounts

List ali financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed,
sold, or otherwise transferred within one year immediately preceding the commencement of this case. include checking,
savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks,
credit unions, pension funds, cooperatives associations, brokerage houses and other financial institutions (Married debtors
filing under chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or both
spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not Hled.)

TYPE OF ACCOUNT, LAST FOUR Al\/lOUNT AND
NAl\/lE AND ADDRESS DlGlTS OF ACCOUNT NUMBERl DATE OF SALE
OF lNSTlTUT|ON AND Al\/lOUNT OF F|NAL BALANCE OR CLOS|NG

 

12. Safe deposit boxes

List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within
one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
must include boxes or depositories of either or both spouses whether or not a joint petition is h|ed, unless the spouses are
separated and a joint petition is not filed.)

 

NAME AND ADDRESS NAMES AND ADDRESSES DESCRiPTlON DATE OF TRANSFER
oF BANK OR OF THOSE wiTH ACCESS OF OR sURRENDER,
OTHER DEPOSiTORY TO BOX OR DEPOSiTORY CONTENTS lF ANY

13. Setoffs

List ali setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
the commencement of this case. (i\iiarried debtors hling under chapter 12 or chapter 13 must include information
concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
petition is not filed.)

DATE OF AiviouNT oF
NAME AND ADDRESS oF cREoiToR sEToi=F sEToFF

None

None

None

None

None

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5
14. Property held for another person
List all property owned by another person that the debtor holds or contro|s.
NAi\iiE AND ADDRESS DESCRlPT|ON AND VALUE
OF OWNER OF PROPERTY LOCATiON OF PROPERTY

 

15. Prior address of debtor

lf debtor has moved within three years immediately preceding the commencement of this case, list ali premises which the
debtor occupied during that period and vacated prior to the commencement of this case. if a joint petition is filed, report also
any separate address of either spouse.

ADDRESS NAME USED DATES OF OCCUPANCY

 

16. Spouses and Former Spouses

if the debtor resides or resided in a community property state, commonwealth, or territory (inc|uding Alaska, Arizona,
California, ldaho, Loulsiana, Nevada, New i\/iexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years
immediately preceding the commencement of the case, identify the name of the debtor 's spouse and of any former spouse
who resides or resided with the debtor in the community property state.

NAME

 

17. Environmentai |nformation.

For the purpose of this question, the following dennitions appiy:

"Environmentai Law" means any federa|, state or local statute or regulation regulating pollution, contamination, releases of
hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium,
inciuding, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

"Site" means any iocatlon, facility, or property as dehned under any Environmentai Law, whether or not presently or
formerly owned or operated by the debtor, including, but not limited to, disposal sites

"Hazardous Material" means anything dehned as a hazardous waste, hazardous substance, toxic substance,
hazardous materia|, pollutant, or contaminant or similar term under an Environmentai Law.

 

a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that
it may be liable or potentially liable under or in violation of an Environmentai Law. indicate the governmental unit, the date of
the notice, and, if known, the Environmentai Law.

SlTE NAl\/lE AND NAME AND ADDRESS DATE OF ENV|RONMENTAL
ADDRESS OF GOVERNl\/lENTAL UN|T NOT|CE LAW

 

b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of
Hazardous Material. indicate the governmental unit to which the notice was sent and the date of the notice.

SlTE NAME AND NAME AND ADDRESS DATE OF ENV|RONl\/lENTAL
ADDRESS OF GOVERNl\/lENTAL UN|T NOTlCE LAW

None

Zi

None

None

None

None

None

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c. List ali judicial or administrative proceedings, including settlements or orders, under any Environmentai Law with
respect to which the debtor is or was a party. indicate the name and address of the governmental unit that is or was a party
to the proceeding, and the docket number.

NAME AND ADDRESS DOCKET NUMBER STATUS OR
OF GOVERNN|ENTAL UN|T DlSPOS|T|ON

 

18. Nature, location and name of business

a. if the debtor is an individua/, list the namesl addresses, taxpayer identification numbers, nature of the businesses,
and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
other activity either ful|- or part-time within the six years immediately preceding the commencement of this case,

or in which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately
preceding the commencement of this case.

if the debtor is a partnership, list the names, addresses, taxpayer identification numbersl nature of the businesses,
and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
the voting or equity securities, within the six years immediately preceding the commencement of this case.

if the debtor is a corporationl list the names, addresses, taxpayer identification numbersl nature of the business, and
beginning and ending dates of ali businesses in which the debtor was a partner or owned 5 percent or more of the voting or
equity securities within the six years immediately preceding the commencement of this case.

LAsT FouR DioiTs
NAME OF SOC|AL SECUR|TY ADDRESS NATURE OF BEGiNNiNG AND ENDiNc
oR oTHER iNDiviDuAL BUS|NESS
TAxPAYER-i.o. No. DATEs
(iTiN)/ coiviPLETE EiN

b. identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
U.S.C. § 101 .
NAME ADDRESS

 

19. Books, records and financial statements

a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
supervised the keeping of books of account and records of the debtor.

NAME AND ADDRESS DATES SERV|CES RENDERED

Ye|ena Saturn
615 Baitic St.
Brook|yn, NY

b. List all Hrms or individuals who within two years immediately preceding the Hling of this bankruptcy case have audited the
books of account and records, or prepared a financial statement of the debtor.

NAME ADDRESS DATES SERVlCES RENDERED

Ye|ena Saturn
615 Baitic St.
Brook|yn, NY

c. List ali hrms or individuals who at the time of the commencement of this case were in possession of the books of account
and records of the debtor. if any of the books of account and records are not available, explain.

NAME ADDRESS

Receiver

None

None

None

None

None

None

None

None

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d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
financial statement was issued by the debtor within two years immediately preceding the commencement of this case,

NAME AND ADDRESS DATE |SSUED

20. inventories

a. List the dates of the last two inventories taken of your property, the name of the person who supervised the
taking of each inventoryl and the dollar amount and basis of each inventory.

DOLLAR AMOUNT OF |NVENTORY

DATE oi= iNvENToRY iNvENToRY suPERvisoR (bSpe<;ify Cost. market Or Other
aS|S

 

b. List the name and address of the person having possession of the records of each of the inventories reported
in a., above.

NAME AND ADDRESSES OF CUSTODIAN
DATE OF lNVENTORY OF lNVENTORY RECORDS

 

21. Current Partners, Officers, Directors and Sharehoiders

a. lfthe debtor is a partnership, list the nature and percentage of partnership interest of each member of the
partnership

NAl\/lE AND ADDRESS NATURE OF lNTEREST PERCENTAGE OF lNTEREST

b. if the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly
owns, controlsl or holds 5 percent or more of the voting or equity securities of the corporation.

NATURE AND PERCENTAGE
NAME AND ADDRESS TlTLE OF STOCK OWNERSHIP

 

22. Former partners, officers, directors and shareholders

a. lf the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
preceding the commencement of this case.

NAME ADDRESS DATE OF W|THDRAWAL

 

b. lf the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated
within one year immediately preceding the commencement of this case.

NAME AND ADDRESS Tm_E DATE OF TERi\/ilNATiON
23. Withdrawais from a partnership or distributions by a corporation

if the debtor is a partnership or corporation, list ali withdrawals or distributions credited or given to an insider, including
compensation in any form, bonuses, loans, stock redemptionsl options exercised and any other perquisite during one year
immediately preceding the commencement of this case.

NAME & ADDRESS AMOUNT OF l\/|ONEY
OF REC|P|ENT, DATE AND PURPOSE OR DESCR|PT|ON
RELATlONSH|P TO DEBTOR OF W|THDRAWAL AND VALUE OF PROPERTY

None

None

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24. Tax Consoiidation Group.

if the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any
consolidated group for tax purposes of which the debtor has been a member at any time within six years immediately
preceding the commencement of the case.

NAME OF PARENT CORPORAT|ON TAXPAYER lDENT|F|CAT|ON NUMBER (ElN)

25. Pension Funds.

|f the debtor is not an individua|, list the name and federal taxpayer identification number of any pension fund to which the
debtor, as an employer, has been responsible for contributing at any time within six years immediately preceding the
commencement of the case.

NAl\/lE OF PENSION FUND TAXPAYER lDENTlFlCATlON NUMBER (ElN)

***k**

 

[if completed on behalf of a partnership or corporation]

l, declare under penalty of perjury that l have read the answers contained in the foregoing statement of financial affairs and any

 

 

Domenick onacchio, Managing Member
Print Name and Titie

 

[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]

continuation sheets attached

Penaity for making a false statement F/'ne of up to $500, 000 or imprisonment for up to 5 years, or both. 18 U.S.C. § 152 and 3571.

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86 Dec|aration (Officiai Form 6 - Deciaration) (12/07)

in re 107 4th Ave LLC Case No.
Debtor Ufknown)

DECLARAT|ON CONCERN|NG DEBTOR'S SCHEDULES
DEcLARATioN uNDER PENALTY oF PERJuRY BY iNDiviDuAL DEBToR

DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSH|P

i Domenick Tonacchio, the Managing Member of the Corporation named as debtor in this case, declare under penalty of

perjury that | have read the foregoing summary and schedules, consis ig - 11 sheets Totai shown on summary page p/us '1),
and that they are true and correct to the best of my knowiedge, in elief.
Date g fl 2~ " l § Signature' //' j --("“”
`

if / _,
Domenick Tona@tio MMMember
[Print or type name of individual signing on behalf of debtor.]

     

  

  
 

[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]

Penaity for making a false statement or concealing property: Fine of up to $500, 000 or imprisonment for up to 5 years or both. 18 U.S. C §§ 152 and
3571.

